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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 1:17-cv-23267-SCOLA/TORRES


  EMILY FULLER,


          Plaintiff,
  v.

 AMERICAN HONDA MOTOR CO. INC.,

          Defendant.


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          Plaintiff Emily Fuller and Defendant American Honda Motor Co., Inc., by and through

 their respective counsel of record herein, hereby stipulate, pursuant to Fed. R. Civ. P.

  41 (a)(1)(A)(ii), that:

          1.      The parties, having completed a settlement of this matter, agree and request that the

 Court order the DISMISSAL of this action, with prejudice, with the Court to retain jurisdiction

 over the parties and the action for the sole purpose of, and, and for only the time period required

 for, enforcement of the parties' obligations under Section 2(C) of the Parties' Settlement

 Agreement and Release of Claims.

          2.      Attached to this Stipulation as Exhibit "A" is a true and correct copy of the parties'

 Settlement Agreement and Release of Claims.

          3.      Each party shall bear his or its own costs and fees, including attorneys' fees,

 incurred with this action.

          4.      The effectiveness of this stipulation is conditioned on the Court's entry of an order
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  retaining jurisdiction. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).



  Respectfully submitted,

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